

People v Cisneros (2022 NY Slip Op 03454)





People v Cisneros


2022 NY Slip Op 03454


Decided on May 26, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 26, 2022

Before: Kern, J.P., Oing, Singh, Moulton, Scarpulla, JJ. 


Ind. No. 4481/08 Appeal No. 16003 Case No. 2017-3051 

[*1]The People of the State of New York, Respondent,
vGuillermo Cisneros, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Arthur H. Hopkirk of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Diana J. Lewis of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about May 5, 2017, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6C), unanimously reversed, on the law, without costs, and the adjudication vacated.
As the People concede, the proceeding in Bronx County should have been dismissed on defendant's motion where Supreme Court, New York County had entered a sex offender level adjudication based on defendant's criminal conduct in both counties, which constituted the "current offenses" under the risk assessment instrument (see People v Cook, 29 NY3d 114, 119 [2017]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 26, 2022








